     Case 3:15-cr-00441-CAB    Document 34   Filed 04/02/15   PageID.55   Page 1 of 1




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 7
                              UNITED STATES DISTRICT COURT
 8
                         SOUTHERN DISTRICT OF CALIFORNIA
 9

10 UNITED STATES OF AMERICA,
                                                      Case No.: 15-CR-0441-CAB-1
11
                               Plaintiff,
12                                                    ORDER AND JUDGMENT TO
                                                      DISMISS WITHOUT
            v.                                        PREJUDICE
13

14 RYAN MICHAEL RAY (1),

15

16                             Defendant.
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            Upon motion of the United States of America and good cause appearing,
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            IT IS HEREBY ORDERED that the Information in the above-entitled case be
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      dismissed without prejudice as to Defendant (1) Ryan Michael Ray.
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            IT IS SO ORDERED.
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24
      DATED:      April 2, 2015
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27                                           HONORABLE CATHY ANN BENCIVENGO
                                             United States District Judge
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